                                      Case 16-21346-RAM                           Doc 71         Filed 01/04/17          Page 1 of 2


                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                           CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                         3rd Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                              Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR: Jose De Jesus Basilio                                              JOINT DEBTOR: Iraida Fernandez                         CASE NO.:       16-21346
 Last Four Digits of SS# xxx-xx-4785                                       Last Four Digits of SS# xxx-xx-4118

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $           1,745.52 for months           01      to       01       ;
           B.       $           2,109.76 for months           02      to       36       ;
           C.       $           2,032.59 for months           37      to       60       ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $ 3500+2500=6,000                 TOTAL PAID $                      3,500.00
                     Balance Due       $                 2500 payable $ 69.45                    /month (Months         01 to      36 )
Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
    Ocwen Loan Servicing
    POB 24738
 1. WPB, FL 33418
                                                                            MMM Payment $                 1,390.26 /month (Months 01 to 01 )
      Account No: xxxxxxxxx2833                                           TPP as of October $             1,302.00 /month (Months 02 to 60 )
    Americas Servicing Co
    Attention: Bankruptcy
    1 Home Campus
 2. Des Moines IA 50328                                              Payoff at the time of filing    $ 24,547.64
                                                                         Payoff Payment $                     416.07 /month (Months 02 to 60 )
      Account No: xxxxxxxxx9250
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral      Interest Rate          Plan Payments Months of Payment    Total Plan Payments

                                                                                              0%          $             0.00       0 To 0                             0.00

Priority Creditors: [as defined in 11 U.S.C. §507]
      -NONE-                          Total Due $
                                      Payable       $                        /month          (Months to )                         Regular Payment $
Unsecured Creditors: Pay $ 111.26 (Months 01 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
         The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an annual basis during the
         pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the Trustee with their filed tax returns is on or before
         May 15 of each year the case is pending and that the debtor(s) shall provide the trustee with verification of their disposable income if their gross
         household income increases by more than 3% over the previous year’s income. The debtor will modify the plan to provide for the distribution
         of funds recovered from his pending lawsuit which are not exempt to the unsecured creditors. The debtor will modify the plan to provide for
         the distribution of funds recovered from his pending lawsuit which are not exempt to the unsecured creditors
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 -NONE-

             Special Intentions:
             Ally Financial: Debtor will pay claim directly.
             Caliber Home Loans: Debtor will pay claim directly.
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                                      Case 16-21346-RAM               Doc 71        Filed 01/04/17   Page 2 of 2


             Laguna Club East Condominium: Debtor will pay claim directly.
             Santander Consumer USA: Debtor will pay claim directly.

              The debtor has filed a Verified Motion for Referral to MMM with Ocwen Loan (“Lender”), loan number 2833, for real
             property located at 300 NW 107 Ave Unit 101 Miami, FL 33172. The parties shall timely comply with all requirements of
             the Order of Referral to MMM and all Administrative Orders/Local Rules regarding MMM. While the MMM is pending and
             until the trial/interim payment plan or the permanent mortgage modification/permanent payment is established by the parties,
             absent Court order to the contrary, the debtor has included a post-petition monthly plan payment (a) with respect to the
             debtor’s homestead, of no less than the lower of the prepetition monthly contractual mortgage payment or 31% of the
             debtor’s gross monthly income (after deducting any amount paid toward HOA fees due for the property) and (b) with respect
             to income producing property, of no less than 75% of the gross income generated by such property, as a good faith adequate
             protection payment to the lender. All payments shall be considered timely upon receipt by the trustee and not upon receipt by
             the lender.
              Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
             proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage
             arrearage stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to
             confirmation of the plan or modified plan.
              If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as a result of the
             pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
             with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later
             than 14 calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately
             amend or modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as
             applicable.
             If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
             days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
             the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements
             necessary to complete the settlement.
             In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
             disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.
             If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
             filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of
             Claim) or (b) provide that the real property will be surrendered. If the amended or modified plan provides that the real
             property is to be surrendered, then the obligations to the lender will be considered “treated outside the plan” and the lender
             shall have in rem relief from the automatic stay as to the real property being surrendered. Notwithstanding the foregoing,
             lender may file a motion to confirm that the automatic stay is not in effect as to the real property.
             Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof
             of Claim.”

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Jose De Jesus Basilio                                           /s/ Iraida Fernandez
 Jose De Jesus Basilio                                               Iraida Fernandez
 Debtor                                                              Joint Debtor
 Date: January 4, 2017                                               Date: January 4, 2017




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